Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 1 of 13 PageID #: 125




                             Exhibit 1
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 2 of 13 PageID #: 126
                                                                                           Execution Version


                                      A and A Shareholding Co., LLC
                                 Equity Restructuring – Binding Term Sheet

                                                                                            August 14, 2019

       This binding term sheet (this “Term Sheet”) by and between LC A&A Intermediate Investors LLC
       (“Lion”) and Carolyn Rafaelian (together with her affiliate vehicles, the “Founder”) (each of Lion
       and the Founder shall be referred to as a “Party”, and together, the “Parties”) is entered into on the
       date hereof and sets forth certain terms of the restructuring of the equity of A and A Shareholding
       Co., LLC (the “Company”) to be consummated by the Parties at the Closing (as defined below).
       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
       the Second Amended and Restated Limited Liability Company Agreement of the Company, dated
       as of September 28, 2012 (as amended, restated or modified from time to time, the “LLC
       Agreement”).

         Second Lien Term Loans;                  At the closing of the transactions contemplated by
         Equity Participation; Founder-            this Term Sheet (the “Closing”), (i) Lion shall make
         Lion Loan                                 a second lien term loan to the Company in an amount
                                                   equal to $13,000,000 (the “Lion Term Loan”) and
                                                   (ii) Founder shall make a second lien term loan to the
                                                   Company in an amount equal to $7,000,000 (the
                                                   “Founder Term Loan”, and together with the Lion
                                                   Term Loan, the “Second Lien Term Loans”)
                                                  Immediately prior to the Closing, Lion will make a
                                                   term loan to the Founder in an aggregate principal
                                                   amount of $5,000,000 which shall be used by the
                                                   Founder solely to fund, in part, the Founder Term
                                                   Loan (such loan, the “Lion-Founder Loan”)
                                                  The Lion-Founder Loan will mature nine months
                                                   after the Closing, with the full principal and interest
                                                   amount thereof payable at maturity, and shall accrue
                                                   interest at a rate equal to 3.5% per annum; provided,
                                                   that if an event of default occurs under the Lion-
                                                   Founder Loan, the interest rate shall then be
                                                   increased to 15.0% per annum
                                                  The Lion-Founder Loan will be full recourse to the
                                                   Founder and will be secured by (i) the Founder’s
                                                   Class A Units (as defined below) and other equity
                                                   interests in the Company held by the Founder and
                                                   affiliated investment vehicles (which shall include a
                                                   voting proxy in favor of Lion) and (ii) a first priority
                                                   mortgage on the Founder’s real property located in
                                                   Venice Beach, California
                                                  In connection with the Second Lien Term Loans,
                                                   each of Lion and Founder will receive Class A Units
                                                   (the “Class A Units”), representing 75% of the fully
                                                   diluted ownership of the Company
                                                  The remaining 25% ownership to be represented by
                                                   Class B Units to be split 15% to the Founder and 10%
                                                   to Lion, proportionate to each of Founder and Lion’s
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 3 of 13 PageID #: 127


                                     pre-Closing ownership of the common equity of the
                                     Company. Attached hereto as Annex A is a cap
                                     table of the Company reflecting the post-Closing
                                     ownership of the Company’s equity
                                    Pursuant to and subject to the terms listed in Exhibit
                                     A to that certain Commitment Letter entered into on
                                     the date hereof by and among the Loan Parties and
                                     the Lenders (each as defined therein), the principal
                                     amount of the Second Lien Term Loans shall be
                                     payable in full at maturity and shall accrue interest at
                                     a rate equal to 15.0% per annum, which shall be
                                     payable in kind until the maturity date; for the
                                     avoidance of doubt, repayment of the Second Lien
                                     Term Loans in full (including, but not limited to,
                                     principal and interest thereon) shall occur prior to any
                                     distributions in respect of any equity
                                    Thereafter, to the extent permitted by the applicable
                                     loan documents, distributions will be made to all
                                     holders of Class A Units, Class B Units and Incentive
                                     Units, pro-rata

         Board Composition          Board of Managers (the “Board”) to be comprised of
                                     five members:
                                              o   Three directors to be appointed by Lion
                                              o   One director to be appointed by the
                                                  Founder
                                              o   One independent director designated by
                                                  the majority of the Board
                                    Subject to certain veto rights to be granted to the
                                     Founder (as further described below), Lion, through
                                     the Board, will have control over strategic and
                                     operational decisions of the Company

         Founder Matters            The Founder will hold the title of “Chief Creative
                                     Officer” and shall continue to serve as an employee
                                     of the Company pursuant to and subject to the terms
                                     of her current employment (including yearly salary
                                     of $508,820 and bonus at the Board’s discretion to be
                                     determined based on the performance of the
                                     business)
                                    For the two years following the Closing, the
                                     Company shall fund the Current State and Tri-
                                     Alchemy lines of business up to a total amount of $1
                                     million per year, such amount to include all research
                                     and development costs and operating losses of such
                                     lines of business
                                    Upon the earlier of (i) a sale of the Company, (ii) the
                                     dismissal of the Founder (for any reason – whether
                                     the Founder is dismissed or resigns voluntarily) or
                                     (iii) two years after the Closing, the Company shall
                                     transfer the intellectual property relating to the
                                     Current State and Tri-Alchemy lines of business to
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 4 of 13 PageID #: 128


                                     the Founder and into the Founder’s name (the “IP
                                     Transfer”); provided, that in the case of (i) or (iii) in
                                     the preceding sentence, the Founder shall be
                                     removed as an employee of the business at the
                                     closing of the IP Transfer unless the Founder has
                                     elected not to consummate the IP Transfer. The IP
                                     Transfer shall constitute full and complete severance
                                     for the Founder
                                    As a condition precedent to and in consideration for
                                     the IP Transfer, at the closing of the IP Transfer, the
                                     Founder shall be required to execute and deliver (i) a
                                     customary release of any and all claims against
                                     Holdings LLC and its Subsidiaries and Lion, which
                                     shall cover all conduct occurring prior to the closing
                                     of the IP Transfer, and which shall be in a form as of
                                     Closing that is mutually agreed by the Parties and (ii)
                                     a non-hire and non-solicitation agreement for a
                                     period of three (3) years in favor of Holdings LLC
                                     and its Subsidiaries in respect of the employees of
                                     Holdings LLC and its Subsidiaries, in the case of
                                     each of (i) and (ii), in a form reasonably satisfactory
                                     to the Board; provided, that the Founder shall be
                                     permitted to hire for employment up to three (3) then
                                     current employees of the Company and its
                                     Subsidiaries. For the avoidance of doubt, the
                                     obligations of the Founder under (i) and (ii) in the
                                     preceding sentence shall be effective as of the date of
                                     the actual transfer of intellectual property in the IP
                                     Transfer

         Preemptive Rights          Founder will have customary preemptive rights on
                                     future issuances of Equity Securities in order to
                                     maintain its economic ownership interest in the
                                     Company in respect of its Equity Securities, except
                                     for customary exceptions consistent with the current
                                     LLC Agreement (including issuances to banks or
                                     other financial institutions, issuances pursuant to
                                     acquisitions approved by the Board and issuance to
                                     managers and executives)

         Information Rights         Founder will have customary information rights
                                     consistent with the existing LLC Agreement, which
                                     include that the Company will keep and provide
                                     reasonable access to the appropriate books and
                                     records with respect to its business, deliver audited
                                     annual financial statements within 120 days after
                                     each fiscal year end, and unaudited quarterly
                                     consolidated financial statements within 60 days
                                     after each quarter, in each case subject to customary
                                     confidentiality obligations

         Veto Rights                Founder will have veto rights preventing the
                                     Members, the Company and the Board from taking
                                     certain actions as listed under Annex B to this Term
                                     Sheet
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 5 of 13 PageID #: 129


         Drag-Along Rights; Right of      On or after June 30, 2022, subject to the Founder’s
         First Offer                       right of first offer described below, Lion shall have
                                           the right to unilaterally cause a sale of the Company
                                           (such sale, a “Drag-Along Sale”)
                                          Prior to initiating a Drag-Along Sale, Lion shall be
                                           required to deliver a notice of its intention to initiate
                                           a Drag-Along Sale to the Founder, upon which the
                                           Founder will have a 60 days period to make an offer
                                           to Lion for the purchase of all (but not less than all)
                                           of Lion’s equity in the Company (any such offer, the
                                           “Founder Offer”)
                                          If Lion rejects the Founder Offer, Lion may sell the
                                           Company (and cause the Founder to sell its equity in
                                           the Company) only pursuant to an offer representing
                                           at least 105% of the equity value set forth in the
                                           Founder Offer and so long as such offer reflects an
                                           enterprise value of at least $400M
                                          An IPO on a national exchange valuing the Company
                                           at an enterprise value of at least $400M (a “Qualified
                                           IPO”) will not be subject to the right of first offer
                                           described above
                                          Lion may not initiate a Drag-Along Sale more than
                                           once in any twelve-month period

         Exit Sale                        On or after June 30, 2024, to the extent that a sale
                                           transaction is not already pending at such time, each
                                           of Lion and the Founder shall have a right to cause
                                           the sale of the Company (an “Exit Sale”)
                                          Upon an election of either Party to initiate an Exit
                                           Sale (or if the Parties jointly agree to initiate an Exit
                                           Sale), the Parties shall be obligated to cause the
                                           Company to engage an investment banking firm of
                                           national reputation to represent the Company in the
                                           Exit Sale and solicit bona fide offers from
                                           prospective purchasers
                                          The bona fide offer that reflects the highest present
                                           value of the aggregate cash consideration to the
                                           Parties shall be elected by the Parties (jointly) or by
                                           the Party initiating such Exit Sale (if not jointly) as
                                           the winning offer

         Transfer Restrictions; Tag-      Consistent with the current LLC Agreement, Lion
         Along                             may transfer its Units at any time subject to tag-along
                                           rights in favor of the Founder
                                          The Founder may transfer its Units with the Board’s
                                           consent (not be unreasonably withheld) subject to (i)
                                           a right of first refusal in favor of the Company and
                                           Lion (with terms consistent with the terms provided
                                           in the current LLC Agreement) and (ii) tag-along
                                           rights in favor of Lion
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 6 of 13 PageID #: 130


                                    Transfers to a Party’s Family Group or controlled
                                     Affiliates shall be permitted and not subject to tag-
                                     along rights. For the avoidance of doubt, any other
                                     transfer or sale by Lion (other than pursuant to a
                                     Drag-Along Sale, an Exit Sale, an IPO or a
                                     reorganization into a successor entity) will be subject
                                     to tag-along rights in favor of the Founder

         Closing                    The Closing of the transactions contemplated by this
                                     Term Sheet shall occur and be effective upon the date
                                     on which the restructuring of the Company’s
                                     indebtedness with the Company’s lenders is
                                     consummated. The Parties shall make the Second
                                     Lien Term Loans to the Company at Closing

         Confidentiality            Neither the existence of this Term Sheet nor any of
                                     its terms or substance shall be disclosed to any person
                                     or entity, directly or indirectly, except (a) as may be
                                     compelled to be disclosed in a judicial or
                                     administrative proceeding or as otherwise required
                                     by law, (b) on a confidential and “need to know”
                                     basis, to affiliates and advisors of a Party or of the
                                     Company who are directly involved in the
                                     consideration of this matter and (c) to the Company’s
                                     debt financing sources

         Mutual Releases            Effective automatically and immediately upon the
                                     Closing, the Parties, each on behalf of itself and any
                                     Person claiming by, through or under any such Party,
                                     and each of the predecessors, successors, successors-
                                     in-interest, assigns, heirs and representatives of each
                                     of the foregoing Persons, hereby forever waives,
                                     releases and discharges the other Party and each
                                     released Party’s current and former affiliates, and
                                     such entities’ and their current and former affiliates’
                                     current and former officers, managers, directors,
                                     equity holders (regardless of whether such interests
                                     are held directly or indirectly), predecessors,
                                     successors, and assigns, subsidiaries, and each of
                                     their current and former officers, managers,
                                     directors, equity holders, principals, members,
                                     employees, agents, managed accounts or funds,
                                     management companies, fund advisors, advisory
                                     board members, financial advisors, partners,
                                     attorneys, accountants, investment bankers,
                                     consultants, representatives, and other professionals,
                                     each in their capacity as such, from any and all claims
                                     that such releasing party now has or may have in the
                                     future against any or all of the released parties based
                                     in whole or in part on facts existing or arising,
                                     whether known or unknown, on or before the
                                     Closing, that relate to, arise out of or otherwise are in
                                     connection with: (i) any act or omission, agreement,
                                     circumstance, event or other occurrence related to the
                                     Company, the management thereof, including by the
                                     Board, and/or the LLC Agreement and (ii) any aspect
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 7 of 13 PageID #: 131


                                     of the dealings or relationships between or among
                                     any or all of the released parties relating the
                                     foregoing and/or anything relating to or arising out of
                                     their business relationship; provided, however, that
                                     the foregoing shall not release the Parties from their
                                     respective obligations under this Term Sheet or the
                                     other definitive documents to which they are a party
                                     or are bound subsequent to the execution of this term
                                     sheet.

         Exculpation                From and after the Closing, the Founder shall
                                     exculpate Lion and its current and former affiliates,
                                     and such entities’ and their current and former
                                     affiliates’ current and former officers, managers,
                                     directors, equity holders (regardless of whether such
                                     interests are held directly or indirectly),
                                     predecessors, successors, and assigns, subsidiaries,
                                     and each of their current and former officers,
                                     managers, directors, equity holders, principals,
                                     members, employees, agents, managed accounts or
                                     funds, management companies, fund advisors,
                                     advisory board members, financial advisors,
                                     partners, attorneys, accountants, investment bankers,
                                     consultants, representatives, and other professionals,
                                     from any claim or cause of action in connection with
                                     or arising out of this Term Sheet, the Company
                                     (including the management thereof or any actions in
                                     connection with serving on the board of directors
                                     thereof) and/or the transactions contemplated hereby,
                                     other than claims or causes of action arising out of or
                                     related to any act or omission of an exculpated party
                                     hereunder that is a criminal act or constitutes
                                     intentional fraud as finally determined by a court of
                                     competent jurisdiction

         Expenses                   Each Party shall bear its own costs and expenses in
                                     connection with the consummation of the
                                     transactions contemplated by this Term Sheet;
                                     provided, that reasonable and documented attorney’s
                                     fees incurred by the Parties in connection with the
                                     matters contemplated by this Term Sheet will be
                                     reimbursed by Alex & Ani, LLC at Closing
                                    If any litigation or other court action, arbitration or
                                     similar adjudicatory proceeding is commenced by
                                     any Party to enforce its rights under this Term Sheet
                                     or any document contemplated by this Term Sheet
                                     with respect to any of the transactions contemplated
                                     hereby against any other Party, all fees, costs and
                                     expenses, including, without limitation, reasonable
                                     attorney’s fees and court costs, incurred by the
                                     prevailing Party in such litigation, arbitration or
                                     proceeding shall be reimbursed by the losing Party;
                                     provided, that if a Party to such litigation, action,
                                     arbitration or proceeding prevails in part, and loses in
                                     part, the court, arbitrator or other adjudicator
                                     presiding over such litigation, action, arbitration or
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 8 of 13 PageID #: 132


                                     proceeding shall award a reimbursement of the fees,
                                     costs and expenses incurred by such Party on an
                                     equitable basis

         Governing Law              This Term Sheet shall be governed by the internal
                                     laws of the state of Delaware without regard to
                                     conflicts of law principles

         Binding Nature             This Term Sheet shall constitute a binding
                                     commitment on the part of the Parties. Prior to the
                                     Closing, each Party shall cooperate in good faith to
                                     memorialize the terms set forth in this Term Sheet in
                                     more detailed agreement(s); provided, that unless
                                     and until any such more detailed agreement(s) are
                                     executed by the Parties, the terms of this Term Sheet
                                     shall be binding with respect to the matters agreed
                                     herein
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 9 of 13 PageID #: 133


              IN WITNESS WHEREOF, the undersigned, each intending to be legally bound hereby,
       have executed this Term Sheet as of the date first above written.


                                                  LC A&A Intermediate Investors LLC



                                                  By:
                                                        Name:SHEGit/ipeilS
                                                        Title: Pfc.eS\C>£iMT



                                                  Carolyn Rafaelian
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 10 of 13 PageID #: 134




               IN WITNESS WHEREOF, the undersigned, each intending to be legally bound hereby,
        have executed this Term Sheet as of the date first above written.


                                                   LC A&A Intermediate Investors LLC



                                                   By:
                                                         Name-]
                                                         Title: ' /                      /
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                                                   Carolyn            aefian   N
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 11 of 13 PageID #: 135


             ACKNOWLEDGED AND AGREED:

                                                                                /?
                                               A and       reholding Co.,
                                                                            L
                                               By>
                                                       Name:Cc^o ^               (Ml
                                                       Title: ie_C



                                               Alex and.A,ni, LLC

                                                                    \
                                               By:     p'—                             /
                                                       Name:                    MP.
                                                       Title: (
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 12 of 13 PageID #: 136


                                Annex A – Post-Closing Capitalization Table

        UNITHOLDER AND ADDRESS                       UNITS

        Carolyn Rafaelian                            8,751,750 Class A Units

        Entities controlled by Lion                  16,253,500 Class A Units

        TOTAL CLASS A                                25,005,000 Class A Units

        Alex and Ani Pledge Co.                      5,000,000 Class B Units

        Carolyn Rafaelian                            1,000 Class B Units

        Entities controlled by Lion                  3,334,000 Class B Units

        TOTAL CLASS B                                8,335,000 Class B Units

        TOTAL                                        33,340,000 Units
Case 1:20-cv-00247-MSM-PAS Document 26-2 Filed 08/14/20 Page 13 of 13 PageID #: 137


                                            Annex B – Veto Rights
              A sale of the Company, other than as provided in the Term Sheet and other than pursuant to
               a Qualified IPO
              The issuance or incurrence of indebtedness by the Company or any of its Subsidiaries, other
               than (i) pursuant to the Company’s existing debt facility or a similar facility with a similar
               bank or similar group of banks as receivables and inventory grow on a formula basis or (ii)
               refinancing of the existing debt facility up to a leverage of 4.5 times LTM EBITDA
              The acquisition of third-party entities or their assets, in any case above $1 million in the
               aggregate in any fiscal year
              Any transaction, including a loan or advance, with any affiliate of the Company (other than
               a wholly-owned Subsidiary) or any employee, other than certain existing transactions and
               loans specified in the LLC Agreement
              Any fundamental change to the Business
              Any decision not to enforce any of the Company’s material intellectual property rights
              Any increase in any fiscal year in any employee’s annual compensation by more than the
               greater of 25%
              Any incremental marketing expenditures exceeding 10% of the Company’s gross revenues
               for the twelve consecutive preceding months
              Taking certain material actions with respect to tax or other regulatory filings, elections,
               claims, agreements, and proceedings relating to the Company and its Subsidiaries
              Any decision to change the size or composition of board
